        Case 3:19-cv-06534-LB Document 34 Filed 11/04/20 Page 1 of 3




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      Attorney for Defendant
12    Working Girls' Café, Inc.
13
14                          UNITED STATES DISTRICT COURT
15                         NORTHERN DISTRICT OF CALIFORNIA
16    BRIAN WHITAKER,                           Case: 3:19-CV-06534-LB
17            Plaintiff,
                                                JOINT STIPULATION FOR
18      v.                                      DISMISSAL PURSUANT TO
19    WORKING GIRLS' CAFÉ, INC., a              F.R.CIV.P. 41 (a)(1)(A)(ii)
      California Corporation; and Does 1-
20    10,
21            Defendants.
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     Joint Stipulation for Dismissal              Case: 3:19-CV-06534-LB
        Case 3:19-cv-06534-LB Document 34 Filed 11/04/20 Page 2 of 3




 1                                     STIPULATOIN
 2
 3   Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and between
 4   the parties hereto that this action may be dismissed with prejudice as to all
 5   parties; each party to bear his/her/its own attorneys’ fees and costs.
 6   This stipulation is made as the matter has been resolved to the satisfaction of
 7   all parties.
 8
 9   Dated: November 4, 2020           CENTER FOR DISABILITY ACCESS
10
11                                     By:   /s/Amanda Seabock
                                             Amanda Seabock
12                                           Attorney for Plaintiff
13
14   Dated: November 4, 2020           LAW OFFICES OF JEFFREY A. CHEN
15
16                                     By:   /s/Jeffrey A. Chen
                                             Jeffrey A. Chen
17                                           Attorney for Defendant
                                             Working Girls' Café, Inc.
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     Joint Stipulation for Dismissal               Case: 3:19-CV-06534-LB
        Case 3:19-cv-06534-LB Document 34 Filed 11/04/20 Page 3 of 3




 1                        SIGNATURE CERTIFICATION
 2
 3   I hereby certify that the content of this document is acceptable to Jeffrey A.
 4   Chen, counsel for Working Girls' Café, Inc., and that I have obtained
 5   authorization to affix his electronic signature to this document.
 6
 7
 8   Dated: November 4, 2020           CENTER FOR DISABILITY ACCESS
 9
                                       By:   /s/Amanda Seabock
10                                           Amanda Seabock
11                                           Attorney for Plaintiff

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     Joint Stipulation for Dismissal               Case: 3:19-CV-06534-LB
